                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 1 of 63


                                                         EXHIBIT 23        Excerpt of USPIS Summary Report – 03/26/2008, 04/01/2008,
                                                                             04/11/2008, 04/23/2008, 5/08/2008 and 06/30/2008; Note:
                                                         EXHIBIT 23        Redactions were done by the government using black maker;
                                                                             Additional redactions done by the defense using white squares with
                                                         EXHIBIT 23        black borders; (Item No. 1 of September 8, 2010 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 2 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 3 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 4 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 5 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 6 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 7 of 63
                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 8 of 63


                                                         EXHIBIT 24        Excerpt of IRS-CI - Report of Interview of CI-1 – January 29, 2008;
                                                                             Note: Redactions were done by the government using black maker;
                                                         EXHIBIT 24        Additional redactions done by the defense using white squares with
                                                                             black borders; (4/6/09 BATES Nos. 9872-9874 and 9876 of April 6,
                                                         EXHIBIT 24        2009 discovery set).
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   SUBMISSION OF CONSOLIDATED EXHIBITS RELATING TO




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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 9 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 10 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 11 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 12 of 63
                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 13 of 63


                                                          EXHIBIT 25        FBI Internal Memorandum – May 5, 2008; Note: Text based
                                                                              redactions were done by the government; Additional redactions done
                                                          EXHIBIT 25        by the defense using white squares with black borders; (Item No. 1 of
                                                                              November 29, 2010 discovery set; 3/2/09 BATES Nos. 6911-7171 of
                                                          EXHIBIT 25        March 2, 2009 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 14 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 15 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 16 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 17 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 18 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 19 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 20 of 63
                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 21 of 63


                                                          EXHIBIT 26        Emails dated April 20, 2008, April 24, 2008, April 25, 2008, May 9,
                                                                              2008, May 16, 2008, May 27, 2008, May 28, 2008; Note: redactions
                                                          EXHIBIT 26        done by the defense using white squares with black borders;
                                                                              (Defendant's Copy 1779, 1782, 1783, 1794, 1798, 1804, and 1805 of
                                                          EXHIBIT 26        February 20, 2009 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 22 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 23 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 24 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 25 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 26 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 27 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 28 of 63
                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 29 of 63


                                                          EXHIBIT 27        Emails dated August 29, 2007 and August 29, 2007; Note:
                                                                              Redactions done by the defense using white squares with black
                                                          EXHIBIT 27        borders; (Defendant's Copy 1687 and 2079 of February 20, 2009
                                                                              discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 31 of 63
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                                                          EXHIBIT 28        FBI Internal Document Summaries – April 25, 2008 to September
                                                                              21, 2009; Note: Text based redactions were done by the government;
                                                          EXHIBIT 28        Additional redactions done by the defense using white squares with
                                                                              black borders; (Item No. 4 of November 29, 2010 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 33 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 34 of 63
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                                                          EXHIBIT 29        Postal Inspection Service - Surveillance Memorandum; Note:
                                                                              Redactions were done by the government using black maker; (Item
                                                          EXHIBIT 29        No. 9 of September 11, 2009 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 37 of 63




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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 38 of 63




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                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 39 of 63


                                                          EXHIBIT 30        FBI FD-302 form – May 8, 2008; (2/12/09 BATES Nos. 135-137 of
                                                                              February 17, 2009 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 40 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 41 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 42 of 63
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                                                          EXHIBIT 31        Emails dated January 31, 2008 to February 14, 2008; Note:
                                                                              Redactions were done by the government using black maker;
                                                          EXHIBIT 31        Additional redactions done by the defense using white squares with
                                                                              black borders; (2/19/2009 BATES Nos. 5018, 5022-5024, 5037, 5038
                                                          EXHIBIT 31        of February 20, 2009 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 44 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 45 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 46 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 47 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 48 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 49 of 63
                                                          Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 50 of 63


                                                          EXHIBIT 32        Excerpt of IRS-CI Internal Memorandum – July 22, 2008; Note:
                                                                              Redactions were done by the government using black squares;
                                                          EXHIBIT 32        Additional redactions done by the defense using white squares with
                                                                              black borders; (Item No. 4 of October 18, 2010 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 51 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 52 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 53 of 63
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                                                          EXHIBIT 33        June 2008 emails between IRS-CI Michael P. Fleischmann and
                                                                              Kinkos employee; Note: Redactions were done by the government
                                                          EXHIBIT 33        using black maker; Additional redactions done by the defense using
                                                                              white squares with black borders; (10/6/11 BATES Nos. 000843,
                                                          EXHIBIT 33        000844, and 000847 of October 6, 2011 discovery set).
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MOTION TO DISMISS FOR OUTRAGEOUS GOVERNMENT CONDUCT
   SUBMISSION OF CONSOLIDATED EXHIBITS RELATING TO




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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 55 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 56 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 57 of 63




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                                                          EXHIBIT 34        Excerpt of CI-FDC Briefing – July 11, 2007; Note: Redactions were
                                                                              done by the defense using white squares with black borders; (4/29/11
                                                          EXHIBIT 34        BATES Nos. 000150-000154 of April 29, 2011 discovery set).
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Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 59 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 60 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 61 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 62 of 63
Case 2:08-cr-00814-DGC Document 1104-3 Filed 12/17/13 Page 63 of 63
